         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:04CR117


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )              ORDER
                                        )
                                        )
DARRELL ROBERT GREENE                   )
                                        )


     THIS MATTER is before the Court on motion of Defendant’s

appellate counsel for an order releasing a copy of the Defendant’s

presentence report and any objections or addendums filed therewith.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report and related documents is ALLOWED.

The United States Probation Office is hereby authorized to make available

these documents to appellate counsel forthwith.




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                               Signed: January 23, 2008




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